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 6   Attorneys for the United States of America

 7                             IN THE UNITED STATES DISTRICT COURT

 8                                    FOR THE TERRITORY OF GUAM

 9    UNITED STATES OF AMERICA,                          CRIMINAL CASE NO. 20-00021

10                             Plaintiff,
                                                         UNITED STATES’ MOTION FOR
11                       vs.                             EXTENSION OF TIME TO PROVIDE
                                                         DISCOVERY
12    RICKY JAMES JR. SALAS SANTOS,

13                             Defendant.

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            The United States hereby moves for a two (2) week extension of time to comply with its
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     discovery obligations pursuant to Criminal Local Rule 16 of the Criminal Local Rules of Practice
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     and Rule 16 of the Federal Rules of Criminal Procedure, and in support states as follows:
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            1.   Defendant was arraigned on September 10, 2020. At arraignment, the Court ordered
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     the Government to provide discovery to the Defendant by September 17, 2020. ECF 10. In
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     compliance with the Court’s September 10, 2020 Order (ECF 10), the Government provided 315
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     pages of discovery to defense counsel on September 11, 2020. The United States has additional
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 1   discovery to produce in this case and has been working diligently to extract and process this

 2   discovery for production in a readily reviewable and searchable electronic format.

 3   2.     On September 3, 2020, the Magistrate Judge issued search warrants for the Defendant’s

 4   three electronic devices (MJ 20-00095, MJ 20-00096 and MJ 20-00097). The extraction of

 5   information from the three electronic devices is ongoing, however this endeavor is a time

 6   consuming process. The Government requests for an extension of time for good cause as the

 7   Government is unable to produce the results of the electronic device extractions in accordance

 8   with the Court’s September 10, 2020 Order.

 9          3. It is the United States’ intention to provide additional discovery to the defendant

10   within two weeks after the September 17, 2020 deadline, or on or before October 1, 2020.

11          For the reasons set forth above, the United States requests that this Court extend the

12   deadline for the production of the United States’ discovery for at least two (2) weeks.

13          RESPECTFULLY SUBMITTED on September 12, 2020.

14                                                        SHAWN N. ANDERSON
                                                          United States Attorney
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16                                                By:      /s/ Rosetta L. San Nicolas
                                                          ROSETTA L. SAN NICOLAS
17                                                        Assistant U.S. Attorney

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